Case 3:16-cv-02077-GAG-B.]I\/| Document 170-6 Filed 12/20/17 Page 1 of 1

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Séombre 1 :\1&111@

Ptan de Pensic)nes de las Escue|as Catolicas Arq.

Nombre ~ Name
Candida perez Robles

 

D§zecci-ém ~ Add1'e$$
LOS l\/laestros
789 Jaime Drew

San Juan, PR

scmgo Posza1- zip owe 99923'2409

 

Direccién ` Address
Urb F|ora| Park
131 Mallorca

San Juan, PR

Cédigc Postal - 20 gone 009’1 7

 

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